                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )       NO. 3:10-00258
                                                       )       JUDGE CAMPBELL
MIGUEL PADILLA                                         )

                                              ORDER

       Pending before the Court is Defendant’s Motion for Exculpatory Evidence (Docket No.

335), and the Government’s Response (Docket No. 366) thereto.

       Through the Motion, the Defendant seeks 13 separate categories of information, some

with various subparts, as well as information regarding informants and eyewitness

identifications. In its Response, the Government indicates that it intends to disclose Brady

material and Jencks material, and meet its other discovery obligations, at the time required by

law.

       In a prior Order (Docket No. 355), the Court ordered the Government to produce Jencks

material on or before August 31, 2012. To the extent the Defendant’s Motion seeks Jencks

material, the Court will hold the Government to the August 31, 2012 deadline. In all other

respects, the Defendant’s Motion is DENIED because it fails to support the requests for

information with specific legal authorities applied to the specific facts of this case.

       It is so ORDERED.

                                                       ____________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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